      Case 22-12123-JNP       Doc 9   Filed 04/13/22 Entered 04/13/22 15:27:56              Desc Main
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                                                                      Order Filed on April 13, 2022
                                                                      by Clerk
UNITED STATES BANKRUPTCY COURT                                        U.S. Bankruptcy Court
                                                                      District of New Jersey
DISTRICT OF NEW JERSEY
                                                        Case No.:                      22-12123
                                                                                _____________________
 In Re:

 Andrey Laptin                                          Chapter:                _____________________
                                                                                         13

                                                        Judge:                           JNP
                                                                                _____________________




                             ORDER DISMISSING CASE ON COURT’S
                                  ORDER TO SHOW CAUSE

      The relief set forth on the following page is hereby ORDERED.




          DATED: April 13, 2022
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       The court having entered an Order to Show Cause as highlighted below, and having
considered all objections, if any, or held a hearing at the request of a party,

        Order to Show Cause Why Case Should Not Be Dismissed for Debtor’s Failure to
         File Documents.

        Order to Show Cause Why Case Should Not Be Dismissed for Debtor’s Failure to
         Meet Credit Counseling Requirements,

        Order to Show Cause Why Case Should Not Be Dismissed for Debtor’s Failure to
         Comply with D.N.J. LBR 1006-1, Payment of Filing Fees in Installments,

        Order to Show Cause Why Case Should Not Be Dismissed for Debtor’s Failure to
         Make Installment Payment(s) Or Pay Miscellaneous Filing Fees,

        Order to Show Cause Why Case Should Not Be Dismissed for Corporate Debtor’s
         Failure to Obtain Counsel,

        Order to Show Cause Why Case Should Not Be Dismissed Due to Debtor’s
         Ineligibility to be a Debtor Under Chapter 13 of the Bankruptcy Code,

        Other: _______________________________________________________________
                No appearance as required
           ____________________________________________________________________

       And the debtor having failed to resolve or otherwise satisfy the Order(s) to Show Cause,

       IT IS ORDERED that this case is dismissed and any discharge entered in this case is
vacated. All outstanding fees due to the Court must be paid within seven (7) days of the date of
this Order.




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